

Matter of Mingal (2019 NY Slip Op 01297)





Matter of Mingal


2019 NY Slip Op 01297


Decided on February 21, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 21, 2019


[*1]In the Matter of ADAM BRANDEN
 MINGAL, an Attorney. 

(Attorney Registration No. 4894432)



Calendar Date: February 19, 2019


Before: Garry, P.J., Egan Jr., Lynch, Devine and Pritzker, JJ. 


Adam Branden Mingal, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Adam Branden Mingal was admitted to practice by this Court in 2011 and lists a business address in Washington, DC with the Office of Court Administration. Mingal now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a])[FN1]. The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mingal's application.
Upon reading Mingal's affidavit sworn to January 8, 2019 and filed January 14, 2019, and upon reading the February 11, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Mingal is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Devine and Pritzker, JJ., concur.
ORDERED that Adam Branden Mingal's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Adam Branden Mingal's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Adam Branden Mingal is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mingal is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Adam Branden Mingal shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1: Mingal's prior application for leave to resign was denied by this Court (162 AD3d 1199 [2018]).






